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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    DUBLIN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )            CR 316-001
                                             )
ANTHONY SOUTHERLAND                          )
                                         _________

                                         ORDER
                                         _________

       Before the Court are the various pre-trial discovery motions filed by the parties.

Many (if not all) discovery issues should be addressed in full by the Court’s rulings below

and the liberal discovery policy that the government has confirmed it is applying in this case.

To the extent, if any, either party believes there are specific inadequacies in the discovery

exchanged to date that are not addressed below, the Court directs such party to confer in

good faith with the opposing party and file, if necessary, a discovery motion and supporting

brief within seven days from the date of this Order.

                           GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with all agency reports, the indicting and

investigative grand jury transcript, and copies of all audio and video material. (Doc. no. 72,

p. 1.) Defendant’s post-arrest statements have also been provided. (Id. at 2.) Accordingly,
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the Court finds that the position of the United States Attorney in permitting liberal disclosure

of the government’s file pertaining to this case renders the general discovery requests

MOOT.1 (Doc. no. 30.)

                       MOTION FOR RECIPROCAL DISCOVERY

       The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence

Defendant intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s

willingness to provide liberal discovery and the unopposed nature of the request, the Court

GRANTS this motion, (doc. no. 71), and any information not yet furnished shall be provided

to the government no later than fourteen days prior to trial. To the extent the government

requests a pre-emptive order excluding any evidence or witness testimony not disclosed in

accordance with this ruling, the Court defers all rulings on the admissibility of evidence at

trial to the presiding District Judge.

       SO ORDERED this 19th day of May, 2016, at Augusta, Georgia.




       1
        Defense counsel did not respond the deficiency notice from the Clerk of Court. (See
doc. no. 40.) Nonetheless, in an abundance of caution, the Court rules on this technically-
improper, consolidated motion.
                                             2
